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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                          )
In re:                                                    ) Chapter 11
                                                          )
WHITING PETROLEUM CORPORATION,                            ) Case No. 20-32021 (DRJ)
et al.,1                                                  )
                                                          ) (Jointly Administered)
                          Reorganized Debtors.            )
                                                          )

                     DECLARATION OF ROBERT P. ESPOSITO
         IN SUPPORT OF THE REORGANIZED DEBTORS’ ELEVENTH OMNIBUS
           OBJECTION TO CERTAIN PROOFS OF CLAIM (SATISFIED CLAIMS)

         I, ROBERT P. ESPOSITO, hereby declare under penalty of perjury:

         1.      I am a Director of Alvarez & Marsal North America, LLC (“A&M”). A&M was

retained by the above-captioned debtors (collectively, the “Debtors” as applicable, and after the

effective date of their plan of reorganization, the “Reorganized Debtors”) as restructuring advisor

in connection with these chapter 11 cases. I have more than twelve (12) years of restructuring

experience.

         2.      I am generally familiar with the Reorganized Debtors’ day-to-day operations,

financing arrangements, business affairs, and books and records that reflect, among other things,

the Reorganized Debtors’ liabilities and the amount thereof owed to their creditors as of the

Petition Date. I have read the Reorganized Debtors’ Eleventh Omnibus Objection to Certain

Proofs of Claim (Satisfied Claims) (the “Objection”), filed contemporaneously herewith.2


1
    The reorganized debtors in these chapter 11 cases, along with the last four digits of each reorganized debtor’s
    federal tax identification number, are: Whiting Canadian Holding Company Unlimited Liability Corporation
    (3662); Whiting Petroleum Corporation (8515); Whiting US Holding Company (2900); Whiting Oil and Gas
    Corporation (8829); and Whiting Resources Corporation (1218). The location of the reorganized debtors’ service
    address is: 1700 Lincoln Street, Suite 4700, Denver, Colorado 80203.

2
    Capitalized but undefined terms herein shall have the same meaning ascribed to them in the Objection.


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        3.     To the best of my knowledge, information, and belief, the assertions made in the

Objection are accurate. In evaluating the Satisfied Claims, the Debtors and the Reviewing Parties

have reviewed the Debtors’ books and records and the relevant proofs of claim, as well as the

supporting documentation provided by each claimant, and have determined that each Satisfied

Claim should be disallowed and expunged based on the fact that each such proof of claim was

satisfied or released during or prior to these chapter 11 cases in accordance with the Bankruptcy

Code, any applicable rules, or a Court order. As such, I believe that the disallowance and

expungement of the Satisfied Claims on the terms set forth in the Objection is appropriate.

                                         Satisfied Claims

        4.     To the best of my knowledge, information, and belief, the Reviewing Parties have

thoroughly reviewed the Debtors’ books and records and the claims register and determined that

the Satisfied Claims identified on Exhibit A to the Order were satisfied or released during these

chapter 11 cases in accordance with the Bankruptcy Code, any applicable rules, or a Court order.

Failure to disallow and expunge the Satisfied Claims would result in the applicable claimants

receiving an unwarranted recovery against the Debtors to the detriment of other similarly situated

creditors. As such, I believe that disallowance and expungement of the Satisfied Claims on the

terms set forth in the Objection and Exhibit A appropriate.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the facts set forth in

the foregoing declaration are true and correct to the best of my knowledge, information and belief.


Dated: December 1, 2020

                                              /s/ Robert P. Esposito
                                              Robert P. Esposito
                                              Alvarez & Marsal North America, LLC




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